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                  Exhibit E
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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                            BROWNSVILLE DIVISION

SPACE EXPLORATION
TECHNOLOGIES CORP.,
      Plaintiff,                             Civil Action No. 1:24-cv-00001
             v.
NATIONAL LABOR RELATIONS
BOARD, a federal administrative agency,
JENNIFER ABRUZZO, in her official
capacity as the General Counsel of the
National Labor Relations Board, LAUREN
M. McFERRAN, in her official capacity as
the Chairman of the National Labor
Relations Board, MARVIN E. KAPLAN,
GWYNNE A. WILCOX, and DAVID M.
PROUTY, in their official capacities as
Board Members of the National Labor
Relations Board, and JOHN DOE in his
official capacity as an Administrative Law
Judge of the National Labor Relations
Board,
      Defendants.



            DECLARATION OF KIMBERLY CHACON IN SUPPORT OF
             PLAINTIFF’S OPPOSITION TO MOTION TO TRANSFER
    Case 1:24-cv-00001 Document 64-7 Filed on 02/01/24 in TXSD Page 3 of 3




       Pursuant to 28 U.S.C. § 1746, I, Kimberly Chacon, declare as follows:

       1.      I am a Human Resources Business Partner at Space Exploration Technologies

Corp. (“SpaceX”).

       2.      I am based at SpaceX’s Starbase facility in Boca Chica, Texas.

       3.      I make the following declaration based on my personal knowledge.

       4.      I am a member of the leadership team for the Starbase Women’s Network.

       5.      I was based at Starbase during the spring and summer of 2022. Over the two-day

period of June 15 and 16, 2022, a document styled as an “Open Letter” was distributed via

multiple company communication channels to personnel located at Starbase.

       6.      To address concerns raised and disruption caused by the Open Letter’s

distribution, the Starbase Women’s Network organized an event with Gwynne Shotwell,

SpaceX’s President and COO. I was among the event’s organizers.

       7.      The event was titled “Q&A with Gwynne with the Women of Starbase” and

occurred on Thursday, June 23, 2022.

       8.      Gwynne Shotwell was physically present at Starbase in Boca Chica, Texas for the

event on June 23.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on January _30__, 2024, in Brownsville, TX.



                                                    ________________________________
                                                    Kimberly Chacon




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